                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA

          v.                                          Criminal No. 25-MJ-3059 (KAR)


 JACOB MILLER




                   GOVERNMENT’S MEMORANDUM IN SUPPORTS OF ITS
                   MOTION FOR PRETRIAL DETENTION OF DEFENDANT

          The United States of America, by and through its undersigned counsel (“the Government”),

respectfully submits this memorandum in support of its motion for the pretrial detention of

defendant Jacob D. Miller (“the defendant” or “Miller”).

          1.     Preliminary Statement

          On February 9, 2004, Miller was convicted state felony offenses in two related cases in

Hampshire Superior Court and sentenced to a total of two and one-half years in a House of

Correction and ten years of probation. On April 8, 2024, federal agents executed a search warrant

at Miller’s residence and seized, among other things, fifty rounds of ammunition from his bedside

table and six firearms from a safe in his hallway closet. Federal agents left behind a large collection

of radiological and chemical materials that were not responsive to the search warrant, but

photographed and inventoried these items, which were also observed by members of the

Massachusetts Department of Environmental Protection (“MassDEP”), who were present for the

search.

          On April 9, 2025, United States Magistrate Judge Katherine A. Robertson conducted

Miller’s initial appearance. The Government informed the Court that based on the materials

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known to be present Miller’s residence, “MassDEP is greatly concerned about potential impacts

to public safety. Accidental release, breaking of containers, mixing of incompatible or reactive

chemicals and or a fire at the residence pose a serious risk to public safety. MassDEP strongly

urges a full and comprehensive evaluation at the residence and removal of any remaining

hazardous chemicals.” The Court ordered that Miller be released subject to pretrial conditions,

including the condition that Miller consent to MassDEP’s examination of his residence and

removal of any hazardous materials. The Court also permitted Miller to return to his residence for

the sole purpose of retrieving clothing and his cat. D.9, 11.

       Because Miller appears to have removed, or caused to be removed, certain hazardous

substances, either after the FBI’s search of his residence on April 8, 2025 or after his initial

appearance on April 9, 2025, and appears to have lied to the MassDEP concerning at least one

highly dangerous substance that he was storing at his house on April 10, 2025 he should be

detained as a danger to the community pursuant to 18 U.S.C. § 3142(e).

       2.      Factual Background

               a.      Miller’s Prior Felony Convictions

       On February 9, 2024, Miller was convicted of one count of possession of child pornography

in Hampshire Superior Court Docket No. 03107 and was convicted of two counts of possession of

an explosive device in Hampshire Superior Court Docket No. 03015B and 03015D. On February

13, 2004, Miller was sentenced in the first case to seven years of probation and sentenced in the

second case to serve two and one-half years in a House of Correction for the first count and to ten

years of probation, concurrent with his sentence in Docket No. 03107, for the second count. On

April 7, 2012, he was found in violation of probation and his term was extended to April 7, 2019.

On January 26, 2018, his probation was terminated. D.4, Affidavit of FBI Special Agent Dustin

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Farivar in Support of Criminal Complaint (the “Farivar Affidavit”), ¶ 6.

                b.    Miller’s Unlawful Possession of Firearms

       Based upon an Affidavit by FBI Special Agent Derek Boucher, on April 5, 2025, United

States Magistrate Judge Katherine A. Robertson issued warrants to search, among other premises,

the residence of Miller (the “Miller Residence”). Docket Nos. 25-mj-3053-KAR to 25-mj-3057-

KAR. On April 8, 2025 at approximately 6:00 a.m., members of the FBI executed the search

warrant for the Miller Residence. Farivar Affidavit, ¶ 7.

       During the execution of the search warrant, FBI agents located a box of approximately fifty

rounds of Federal brand, American Eagle .45 auto, 230 grain ammunition inside the bedside table

of Miller’s bedroom. Id., ¶¶ 9-10. FBI agents also located in a hallway closet safe the following

six firearms:

                a.    Remington Model 514

                b.    J Stevens Arms Company Single Gun

                c.    Remington Sportsmaster Model 511

                d.    O.F. Mossberg and Sons No. 44B

                e.    Marlin Family Firearms Company, Serial No. V314525

                f.    Remington Model 12C, .22 Rifle, Serial No. 497525

Id., ¶¶ 12-14. A photograph of one of these firearms is set forth below:




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Boucher Detention Affidavit, ¶ 9.

       In addition, agents located in Miller’s basement and seized a FedEx box containing

approximately black powder, which had been shipped from Illinois to a third party in Belchertown,

in violation of Title 18, United States Code, Section 842(i)(1). 1 Boucher Detention Affidavit, ¶ 10.

               c.      Miller’s Release and Apparent Removal of Hazardous Materials

       On April 9, 2025, United States Magistrate Judge Katherine A. Robertson conducted

Miller’s initial appearance. The Government informed the Court that based on the materials




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          Title 18, United States Code, Section 842(i)(1) states: “(i) It shall be unlawful for any
person — (1)who is under indictment for, or who has been convicted in any court of, a crime
punishable by imprisonment for a term exceeding one year; . . . to ship or transport any explosive
in or affecting interstate or foreign commerce or to receive or possess any explosive which has
been shipped or transported in or affecting interstate or foreign commerce.” 18 U.S.C. § 842(i)(1).

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known to be present Miller’s residence, “MassDEP is greatly concerned about potential impacts

to public safety. Accidental release, breaking of containers, mixing of incompatible or reactive

chemicals and or a fire at the residence pose a serious risk to public safety. MassDEP strongly

urges a full and comprehensive evaluation at the residence and removal of any remaining

hazardous chemicals.” The Court ordered that Miller be released subject to pretrial conditions,

including the condition that Miller consent to MassDep’s examination of his residence and removal

of any hazardous materials. The Court also permitted Miller to return to his residence for the sole

purpose of retrieving clothing and his cat. D.9, 11.

       At approximately 9:00 a.m. on April 10, 2025, MassDEP began its examination of Miller’s

residence and discovered that numerous hazardous materials appeared to be missing. Miller also

lied to MassDEP about his collection, such as by denying that he possessed the extremely

hazardous material mercury.

       3.      Legal Standard

       Under the Bail Reform Act of 1984, pretrial detention is required if the Court finds that

“no condition or combination of conditions will reasonably assure the appearance of the person as

required and the safety of any other person and the community.” 18 U.S.C. § 3142(e). The Court

must find either (1) by clear and convincing evidence, that the defendant is a danger to the

community or (2) by a preponderance of the evidence, that the defendant poses a risk of flight. 18

U.S.C. § 3142(f).

       Title 18, United States Code, Section 3142(g) outlines factors permitted to be considered

by the Court in determining whether to order pre-trial detention:

               [I]n determining whether there are conditions of release that will
               reasonably assure the appearance of the person as required and the
               safety of any other person and the community, [the judicial officer
               shall] take into account the available information concerningB
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               (1)     The nature and circumstances of the offense charged . . .;

               (2)     the weight of the evidence against the person;

               (3)     the history and characteristics of the person, including

                       (A)    the person’s character, physical and mental
                              condition, family ties, employment, financial
                              resources, length of residence in the community,
                              community ties, past conduct, history relating to drug
                              or alcohol abuse, criminal history, and record
                              concerning appearance at court proceedings; and

                       (B)    whether, at the time of the current offense or arrest,
                              the person was on probation, on parole or on other
                              release pending trial, sentencing, appeal, or
                              completion of a sentence for an offense under
                              Federal, State, or local law; and

               (4)     the nature and seriousness of the danger to any person or the
                       community that would be posed by the person’s release . . .
                       .

18 U.S.C. § 3142(g).

       At the detention hearing, “the rules concerning admissibility of evidence in criminal trials

do not apply to the presentation and consideration of information . . . .” 18 U.S.C. § 3142(f).

       4.      The Defendant Should Be Detained

       Miller should be detained because he is a danger to the community, and all of Section

3142(g) factors strongly favor detention.

               a.      The Offense Is Grave

       The “nature and circumstances of the offense charged” clearly weigh heavily in favor of

detention. 18 U.S.C. § 3142(g)(1). Miller’s offense – a violation of 18 U.S.C. § 922(g) – involves

fifty rounds of ammunition and six deadly firearms. Miller’s offense is aggravated further by the

nature and seriousness his one of his predicate felony cases – two counts of possession of

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explosives, for which he received a hefty sentence of two and one-half years in a House of

Correction.

               b.      The Evidence Is Powerful

       The “weight of the evidence” is extremely strong and weighs heavily in favor of detention.

18 U.S.C. § 3142(g)(2). FBI agents located the firearms during the lawful execution of a search

warrant at Miller’s residence, and they located the bullets in Miller’s bedside table and the firearms

in a safe in his hallway closet. At the time of the search, Miller was the sole occupant of the

residence.

               c.      The Defendant’s Personal History Favors Detention

       The defendant’s “history and characteristics” also favor detention. 18 U.S.C. § 3142(g)(3).

As set forth below, Miller’s prior criminal history underscores the danger that he poses to the

community, particularly when coupled with the other material found in his residence – explosives,

radiological material, and dangerous chemicals.

               d.      The Defendant’s Release Endangers the Community

       As described above, the defendant presents a grave danger to the community if released.

In addition to his unlawful possession of firearms and ammunition, he also stockpiled explosives,

radiological material, and dangerous chemicals. Moreover, after this Court released Miller,

directed to him to return to his home for the sole purpose of retrieving clothing and a cat, and

ordered that Miller consent to MassDEP’s examination of his home for dangerous materials, Miller

appears to have either removed or caused to be removed a substantial part of those materials.

Miller further lied to the MassDEP concerning his storage of a large amount of the highly toxic

mercury at his residence on April 10, 2025.




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       5.      Conclusion

       For the preceding reasons, the Government respectfully requests that the defendant be

detained pending his trial.

                                                               Respectfully submitted,


                                                               LEAH B. FOLEY
                                                               United States Attorney
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                                      Certificate of Service

        I hereby certify that this document will be filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).

                                              By:     /s/ Steven H. Breslow
                                                      STEVEN H. BRESLOW
                                                      Assistant U.S. Attorney

Dated: April 10, 2025




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